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   5
   6   Attorneys for Lead Plaintiff Natissisa
       Enterprises Ltd. and Lead Counsel for Class
   7
   8                        UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10
                                                   Master File No. 3:16-CV-03044-L-
  11
        IN RE ILLUMINA, INC.                       KSC
  12    SECURITIES LITIGATION
                                                   DECLARATION OF
  13
                                                   ADAM M. APTON
  14
                                                   Judge: Hon. M. James Lorenz
  15
  16
  17   I, ADAM M. APTON hereby declare that:

  18         1.     I am a partner of the law firm of Levi & Korsinsky, LLP. I represent

  19   Lead Plaintiff Natissisa Enterprises Ltd. (“Natissisa”) and serve as lead counsel for

  20   the alleged class. I am licensed to practice in California, New York, and

  21   Washington, D.C. I am a member in good standing of the Bar of this Court. I make

  22   this Declaration in support of Plaintiff’s Motion to File the Second Amended

  23   Complaint pursuant to Federal Rule of Civil Procedure 15. I have personal

  24   knowledge of the matters stated herein and, if called upon, I could and would

  25   competently testify thereto.

  26         2.     Natissisa seeks to amend the complaint for the purpose of adding

  27   Anton Agoshkov as a named plaintiff. Mr. Agoshkov has been, and remains,

  28   Natissisa’s representative for the purposes of this litigation. Mr. Agoshkov managed
       Natissisa’s investments while it was operating, including the purchase of Illumina
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   1   stock at issue in this lawsuit. Natissisa authorized Mr. Agoshkov to act on its behalf
   2   in connection with this lawsuit pursuant to Powers of Attorney dated May 2016 and
   3   March 2017. True and accurate copies of these Powers of Attorneys are attached
   4   hereto as Exhibits A and B, respectively.
   5         3.     In or around December 2017, Natissisa decided to commence
   6   voluntary dissolution proceedings. As a result of Natissisa’s decision to unwind,
   7   Natissisa assigned its interests in this lawsuit to its ultimate beneficial owner,
   8   Oleksandr Agoshkov, in order to avoid potential delay or districation associated
   9   with the dissolution proceedings. Oleksandr Agoshkov, in turn, assigned Natissisa’s
  10   interests in the lawsuit to Anton Agoshkov in light of his involvement in the
  11   litigation. True and accurate copies of these Assignments are attached hereto as
  12   Exhibits C and D, respectively.
  13         4.     A copy of Natissisa’s proposed amended pleading in redline form is
  14   attached hereto as Exhibit E.
  15         5.     Natissisa attempted to obtain Defendants’ consent in connection with
  16   the instant motion. On September 5, 2018, Natissisa advised Defendants of its intent
  17   to seek leave to amend for the purpose of adding Mr. Agoshkov as an additional
  18   named plaintiff. The parties discussed the motion on at least two occasions since
  19   that date. Natissisa also provided Defendants a draft copy of their brief in support
  20   of the motion in advance of filing. Defendants have indicated that they are not in a
  21   position to consent to the motion at this point in time.
  22         I declare under the penalty of perjury and the laws of the state of California
  23   that the foregoing is true to the best of my knowledge.
  24
  25   Dated: September 12, 2018                      s/ Adam M. Apton           .
                                                      Adam M. Apton
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                                  DECLARATION OF ADAM M. APTON
                                     Case No. 3:16-cv-03044-L-KSC
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